          Case 6:15-cr-10175-EFM Document 34 Filed 02/16/16 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,

                Plaintiff,




 vs.                                                   Case No. 15-10175-01,02-EFM
 ROY E. WALLS-GUIDEN, and
 DEMON ANDERSON,

                Defendant.




                                  MEMORANDUM AND ORDER

       The Government’s motion asks the Court to reconsider its order granting the Defendants’

motion to dismiss (Doc. 23). After considering the Government’s argument, the

Court denies the motion.

                             I.     Factual and Procedural Background

       On December 8, 2015, Defendants Roy Walls-Guiden and Demon Anderson were each

indicted on two counts for violating 18 U.S.C. §§ 924(c)(1) and (2). The Court issued a General

Order of Discovery and Scheduling on December 15. The Scheduling Order was to “apply to the

charges and to any superseding charges in this case” and mandated that the Defendants “shall

file all motions and notices pursuant to [Rule 12].” The Scheduling Order further provided that

“[r]esponses to any motions filed pursuant to this order shall be filed no later than 14 days

following the filing of the motion.”
          Case 6:15-cr-10175-EFM Document 34 Filed 02/16/16 Page 2 of 3




        On January 11, 2016, Walls-Guiden moved to dismiss both of those counts.              The

following day, Anderson filed a motion to join in Walls-Guiden’s motion, which the Court

subsequently granted. On January 26, 15 days after the Defendants moved for dismissal, the

Government had not filed a response. This Court’s Courtroom Deputy informed the Government

via email and voicemail that it had missed the 14-day deadline to respond. The Government

overlooked these notifications. Accordingly, the Court granted the Defendants’ motion to

dismiss on February 1. Later that day, the Government filed a motion to reconsider as well as a

response to the Defendants’ motions.

                                         II.     ANALYSIS

       The Government contends that the Defendants’ motion to dismiss was filed pursuant to

Rule 12 of the Federal Rules of Criminal Procedure and not pursuant to the General Order of

Discovery and Scheduling. Therefore, the Government argues that it had 21 days to respond, as

allowed by the Federal Rules. In their response, the Defendants argue that the General Order of

Discovery and Scheduling makes no special exceptions for orders filed under the Federal Rules.

They contend that their Rule 12 motion was filed pursuant to the scheduling order.            The

Government is correct that Rule 12 provided the substantive basis for the Defendants' motion to

dismiss. But the Scheduling Order controlled the timing for all filings in this case.

       The Scheduling Order plainly states that it applies to the entire case. And, as the

Government conceded at the hearing on this motion, the Scheduling Order also provides that the

Defendants “shall file all motions and notices pursuant to [Rule 12].” So the Defendants’ Rule

12 motion was in fact filed pursuant to the Scheduling Order. And the Scheduling Order

unambiguously states that “[r]responses to any motions filed pursuant to this order shall be filed

no later than 14 days following the filing of the motion.” (emphasis added). Because the


                                                -2-
            Case 6:15-cr-10175-EFM Document 34 Filed 02/16/16 Page 3 of 3




Defendants’ motion to dismiss was filed pursuant to the Scheduling Order, the Government had

14 days to file a response. There is no distinction, or exception, for Rule 12 motions. Nor was

the Government’s failure to comply with the Scheduling Order excusable neglect.1 Accordingly,

the Government’s motion to reconsider is denied.

   IT IS THEREFORE ORDERED that the Government’s Motion to Reconsider (Doc. 23) is

hereby DENIED.

   IT IS FURTHER ORDERED that the Government’s Response to the Defendants’ Motions

(Doc. 24) is stricken from the record.

       IT IS SO ORDERED.

       Dated this 16th day of February, 2016.




                                                               ERIC F. MELGREN
                                                               UNITED STATES DISTRICT JUDGE




       1
           See United States v. Torres, 372 F.3d 1159, 1164 (10th Cir. 2004).



                                                        -3-
